


  Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated November 2, 1981 (People v Barnes, 84 AD2d 752 [1981]), affirming two judgments of the County Court, Nassau County, both rendered November 20, 1979.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Eng, P.J., Leventhal, Sgroi and Maltese, JJ., concur.
 
